The validity of the trial court's order depends upon the evidence before it. That evidence has not been transferred. No findings appearing which make the order improper, all special findings necessary to justify it were presumably made. There is no presumption that special findings reported include all the findings made. It must affirmatively appear that they do before the question whether they are sufficient to sustain the general verdict or order can be considered. Spaulding v. Mayo, 81 N.H. 85. It follows that so far as the record here shows, the court's duty in determining what justice required was properly performed. Petition of Burnham  a., 74 N.H. 492; Rand v. Anderson, 74 N.H. 601; Strafford County v. Dover, 74 N.H. 601; Currier v. Silkey, 79 N.H. 534; Eaton v. Clarke,80 N.H. 586; Spaulding v. Mayo, supra; Gianaris v. Mangurian, 82 N.H. 558.
Exception overruled. *Page 554 